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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) De Cendouts 4 GC Q | iM ; -

Defendant No.8
Name Mas\inS, Tne aft DBA) \) CBM baagerert (DBA) Suntit
Job or Title (if known) Corre MO / Feed Service. Yrudter Feod
Shield Number Setufce:
Employer South Daketro — Dept. of Copechons
Address 2250 NN. Cire Ave
Sioux Falls Sp _ _ $7104
City State Zip Code
Xx Individual capacity [x{otticia capacity 608-39. 0 27
Defendant Naa
Name Aramark Coftechona\ Services, Us.
Job or Title (if known) Costerinoy f Fe cook Cet Vite Provider
Shield Number
Employer South Dakater — Dept of Correctiont
Address G2 Civic Center Plaza __
Sowton Ana _CK ___ 4vio\
State Zip Code

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>~F499- Bagq
il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
[ | Federal officials (a Bivens claim)
{sae or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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